AO 245B     (Rev. 11/11) Judgment in a Criminal Case
            Sheet 1



                                      United States District Court
                                                  NORTHERN DISTRICT OF IOWA
          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                              V.
              FROLLY MAURICE BALL                                         Case Number:                         CR 13-2013-1-LRR

                                                                          USM Number:                          17655-043
                                                                          Michael K. Lahammer
                                                                          Defendant’s Attorney
THE DEFENDANT:
O pleaded guilty to count(s) 1 of the Indictment filed on June 26, 2013
G pleaded nolo contendere to count(s)
     which was accepted by the court.
G    was found guilty on count(s)
     after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                        Nature of Offense                                                       Offense Ended           Count
21 U.S.C. §§ 841(a)(1),                Conspiracy to Distribute at Least 1,000 Grams                           February 2011             1
841(b)(1)(A), 841(b)(1)(B),            of Heroin, 500 Grams of Cocaine, and a
841(b)(1)(C), and 846                  Quantity of Crack Cocaine




         The defendant is sentenced as provided in pages 2 through            6         of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.
G    The defendant has been found not guilty on count(s)
G    Counts                                                                                   is/are dismissed on the motion of the United States.

          IT IS ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material change in economic circumstances.

                                                                          February 20, 2015
                                                                          Date of Imposition of Judgment



                                                                          Signature of Judicial Officer


                                                                          Linda R. Reade
                                                                          Chief U.S. District Court Judge
                                                                          Name and Title of Judicial Officer

                                                                           February 20, 2015
                                                                          Date




                 Case 6:13-cr-02013-CJW-MAR                      Document 219                Filed 02/20/15           Page 1 of 6
AO 245B       (Rev. 11/11) Judgment in Criminal Case
              Sheet 2 — Imprisonment

                                                                                                         Judgment — Page   2       of   6
DEFENDANT:                       FROLLY MAURICE BALL
CASE NUMBER:                     CR 13-2013-1-LRR


                                                                IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of: 235 months on Count 1 of the Indictment.

O         The court makes the following recommendations to the Bureau of Prisons:
          That the defendant be designated to a Bureau of Prisons facility as close to the defendant’s family in the state of
          Mississippi as possible, commensurate with the defendant’s security and custody classification needs.
          That the defendant participate in the Bureau of Prisons’ 500-Hour Comprehensive Residential Drug Abuse
          Treatment Program or an alternate substance abuse treatment program.
          That the defendant participate in a Bureau of Prisons’ Vocational Training Program specializing in the
          culinary arts, carpentry, drafting, electrical work, horticultural work, heating and cooling, office automation,
          and/or welding.

O         The defendant is remanded to the custody of the United States Marshal.

G         The defendant shall surrender to the United States Marshal for this district:
          G      at                                    G a.m.      G p.m.        on                                            .
          G      as notified by the United States Marshal.

G         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G      before 2 p.m. on                                            .
          G      as notified by the United States Marshal.
          G      as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                             to

at                                                      , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                              By
                                                                                                    DEPUTY UNITED STATES MARSHAL




                      Case 6:13-cr-02013-CJW-MAR                     Document 219            Filed 02/20/15        Page 2 of 6
AO 245B      (Rev. 11/11) Judgment in a Criminal Case
             Sheet 3 — Supervised Release
                                                                                                        Judgment—Page      3     of         6
DEFENDANT:                     FROLLY MAURICE BALL
CASE NUMBER:                   CR 13-2013-1-LRR
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 5 years on Count 1 of the Indictment.




     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
       The defendant shall not commit another federal, state, or local crime.

     The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
G      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
O      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
O      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
G      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
          of a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
          of any contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
          officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
          criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
          confirm the defendant’s compliance with such notification requirement.

                   Case 6:13-cr-02013-CJW-MAR                   Document 219             Filed 02/20/15         Page 3 of 6
AO 245B    (Rev. 11/11) Judgment in a Criminal Case
           Sheet 3C — Supervised Release
                                                                                               Judgment—Page     4    of       6
DEFENDANT:                 FROLLY MAURICE BALL
CASE NUMBER:               CR 13-2013-1-LRR

                                         SPECIAL CONDITIONS OF SUPERVISION
The defendant must comply with the following special conditions as ordered by the Court and implemented by the U.S. Probation Office:

1)   The defendant must participate in and successfully complete a program of testing and treatment for substance abuse.
2)   The defendant must not use alcohol nor enter bars, taverns, or other establishments whose primary source of income
     is derived from the sale of alcohol.
3)   The defendant must participate in a mental health evaluation and/or treatment program. The defendant must take
     all medications prescribed to the defendant by a licensed psychiatrist or physician.
4)   The defendant must not be on the premises of any casino during any period of the defendant’s supervision. The
     defendant must not participate in any form of gambling, including but not limited to, lotteries, pull-tab cards, card
     games, on-line wagering, horse and dog racing, and sports betting.
5)   If not employed at a regular lawful occupation, as deemed appropriate by the United States Probation Office, the
     defendant must participate in employment workshops and report, as directed, to the United States Probation Office
     to provide verification of daily job search results or other employment related activities. In the event the defendant
     fails to secure employment, participate in the employment workshops, or provide verification of daily job search
     results, the defendant may be required to perform up to 20 hours of community service per week until employed.
6)   The defendant must submit to a search of the defendant’s person, residence, adjacent structures, office and vehicle,
     conducted by a United States Probation Officer at a reasonable time and in a reasonable manner, based upon
     reasonable suspicion of contraband or evidence of a violation of a condition of release. Failure to submit to a search
     may be grounds for revocation. The defendant must warn any other residents that the residence or vehicle may be
     subject to searches pursuant to this condition. This condition may be invoked with or without the assistance of law
     enforcement, including the United States Marshals Service.


Upon a finding of a violation of supervision, I understand the Court may: (1) revoke supervision; (2) extend the term of
supervision; and/or (3) modify the condition of supervision.
These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


     _____________________________________                          _____________________
     Defendant                                                      Date


     _____________________________________                          _____________________
     U.S. Probation Officer/Designated Witness                      Date




               Case 6:13-cr-02013-CJW-MAR                 Document 219           Filed 02/20/15        Page 4 of 6
AO 245B    (Rev. 11/11) Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties
                                                                                                              Judgment — Page     5      of       6
DEFENDANT:                         FROLLY MAURICE BALL
CASE NUMBER:                       CR 13-2013-1-LRR

                                               CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                               Fine                                  Restitution
TOTALS             $ 100                                                $     0                                   $ 0


G    The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

G    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid
     before the United States is paid.


Name of Payee                                  Total Loss*                              Restitution Ordered                     Priority or Percentage




TOTALS                                $                                           $


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for the                G fine       G       restitution.

     G the interest requirement for the               G   fine      G       restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses
committed on or after September 13, 1994, but before April 23, 1996.
                 Case 6:13-cr-02013-CJW-MAR                             Document 219                 Filed 02/20/15        Page 5 of 6
AO 245B    (Rev. 11/11) Judgment in a Criminal Case
           Sheet 6 — Criminal Monetary Penalties

                                                                                                         Judgment — Page      6     of       6
DEFENDANT:                  FROLLY MAURICE BALL
CASE NUMBER:                CR 13-2013-1-LRR

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    O    Lump sum payment of $                       100   due immediately, balance due

          G not later than                               , or
          G in accordance with           G C, G D, G E, or G F below; or

B    G    Payment to begin immediately (may be combined with            G C,        G D, or      G F below); or

C    G    Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    G    Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $               over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    G    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G    Joint and Several

     Defendant and Codefendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

G    The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.



                 Case 6:13-cr-02013-CJW-MAR                      Document 219             Filed 02/20/15          Page 6 of 6
